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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:17CR237

       vs.
                                                                         ORDER
JUAN JOSE SILVA CASTANEDA and JOSE
MARIN-ARANDA,

                      Defendant.



       This matter is before the court on Defendant Marin-Aranda’s unopposed Amended
Motion to Continue Trial [32] and the Motion to Continue Trial [31]. Counsel is seeking
additional time to review discovery materials that were recently provided to the defense. For
good cause shown,

       IT IS ORDERED that the defendant’s Motion to Continue Trial [31] is denied as moot.
The defendant’s unopposed Amended Motion to Continue Trial [32] is granted as follows:

     1. The jury trial, as to both defendants, now set for November 7, 2017 is continued to
December 12, 2017.

         2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and December 12, 2017, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 2nd day of November, 2017.


                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
